
OPINION.
Moeris :
The taxpayer contends that the common stock of the Pure Oil Co. had a fair market value of $22.50 a share on March 1, 1913. He offered no evidence to support that value but called our attention to the decision of the United States District Court for the Western District of Pennsylvania in the case of Phillips v. United States, 12 Fed. (2d) 598, in which the court found that the March 1, 1913, value of that stock was $22.50 a share, He contends that that *1203decision renders the question of value of the Pure Oil Co. stock res adjudicata.
The same question was raised and decided adversely to the taxpayer in the Appeal of Charles L. Suhr, 4 B. T. A. 1198, and for the reasons therein given we render

Judgment for the Commissioner.

